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                                          1 CHRISTOPHER R. ORAM, ESQ
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                                            Las Vegas, Nevada 89101
                                          3 (702) 384-5563
                                            E-Mail: crorambusiness@aol.com
                                          4
                                            Attorney for Defendant
                                          5 FEDEL EZEKIEL SAKERS
                                                                       UNITED STATES DISTRICT COURT
                                          6                                   DISTRICT OF NEVADA
                                          7                                                *****
                                          8 UNITED STATES OF AMERICA,                           CASE NO. 2:16-cr-00279-JAD-PAL

                                          9                  Plaintiff,

                                         10 vs.                                                 STIPULATION TO CONTINUE
                                                                                                SENTENCING DATE
                                         11 FEDEL EZEKIEL SAKERS                                (First Request)
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12
 TEL. 702.384-5563 | FAX. 702.974-0623




                                                               Defendants.
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13
                                                     IT IS HEREBY STIPULATED AND AGREED, by and between the United States of
                                         14
                                              America, by and through Robert Knief, Assistant United States Attorney, Fedel Sakers, by and
                                         15
                                              through his attorney, Christopher R. Oram, that the Sentencing Hearing in the above-captioned
                                         16
                                              matter, now scheduled for Monday, May 21, 2018, at the hour of 10:00 am, be vacated and
                                         17
                                              rescheduled to a date and time convenient to the Court, but no earlier than June 18, 2018
                                         18
                                                     This is the first request for a continuance of the Sentencing Hearing in this matter.
                                         19
                                         20          This Stipulation is entered into for the following reasons:

                                         21          1. Counsel for Mr. Sakers is scheduled to be out of the country from April 20, 2018,
                                         22 through May 7, 2018. Given this, counsel has not had ample time to review the Presentence
                                         23 Investigation Report with Mr. Sakers nor has the undersigned had ample time to submit any
                                         24 objections to the Presentence Investigation Report. Given that ten business days are required by
                                         25 Parole and Probation to review any objections, and the undersigned does not return to the office
                                         26 until May 7, 2018, a continuance of the sentencing is necessary.
                                         27
                                         28                                                    1
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                                          1
                                                     2. The defendant is in custody and does not object to this stipulation.
                                          2
                                                     3. Denial of this request could result in a miscarriage of justice.
                                          3
                                                     4. For all of the above-stated reasons, the ends of justice would best be served by a
                                          4
                                              continuance of the Sentencing dates.
                                          5
                                          6
                                            /s/ Robert Knief 04/19/2018                             /s/ Christopher R. Oram        04/19/2018
                                          7 ROBERT KNIEF DATE                                       CHRISTOPHER R. ORAM              DATE
                                          8 Assistant United States Attorney                        Counsel for Defendant Sakers
                                          9
                                         10
                                                     Based upon the pending Stipulation of the parties, and good cause appearing therefore, the
                                         11
                                              Court finds that:
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12
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                                              1. The parties have stipulated to reschedule the sentencing date as presently scheduled.
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                                         13
                                              2. This Court, being convinced that adequate showing has been made that were this request for a
                                         14
                                              rescheduling of the dates to be denied, counsel would not have the necessary time to review the
                                         15
                                              Presentence Investigation Report and submit any necessary objections based on the following:
                                         16
                                                             A. Counsel for Mr. Sakers is scheduled to be out of the country from April 20,
                                         17
                                                             2018, through May 7, 2018. Given this, counsel has not had ample time to review
                                         18
                                                             the Presentence Investigation Report with Mr. Sakers nor has the undersigned had
                                         19
                                                             ample time to submit any objections to the Presentence Investigation Report. Given
                                         20
                                                             that ten business days are required by Parole and Probation to review any
                                         21
                                                             objections, and the undersigned does not return to the office until May 7, 2018, a
                                         22
                                                             continuance of the sentencing is necessary.
                                         23
                                                             B. The defendant is in custody and does not object to a continuance.
                                         24
                                         25                  C. Denial of this request could result in a miscarriage of justice.

                                         26                  D. For all of the above-stated reasons, the ends of justice would best be served by a
                                         27 rescheduling of the Sentencing date.
                                         28


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                                          1
                                                                                          ORDER
                                          2
                                                     IT IS ORDERED that the Sentencing currently scheduled for May 21, 2018, at the hour of
                                          3
                                              10:00 am, be vacated and rescheduled to _____________,
                                                                                      July 2, 2018, at20__, at theofhour
                                                                                                       the hour          of ___
                                                                                                                     11:00  a.m..m.
                                          4
                                          5
                                          6        DATED
                                                 DATED
                                                 DATED thisthis
                                                       this 23rd
                                                            20th____
                                                                  dayday
                                                                      of of _______________,
                                                                         April, 2018.        2018.

                                          7
                                          8                                                      __________________________________

                                          9                                                      UNITED STATES DISTRICT JUDGE

                                         10
                                         11
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12
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